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UNITED STATES JUDICIAL PANEL
on
MULTIDISTRICT LITIGATION

IN RE: DISOCYANATES ANTITRUST
LITIGATION MDL No, 2862

TRANSFER ORDER

Before the Panel:” Plaintiff in one action in the Western District of Pennsylvania moves
under 28 U.S.C. § 1407 to centralize this litigation in that district or, alternatively, the Southern
District of New York or the Northern District of Alabama. This litigation currently consists of three
actions pending in three districts, as listed on Schedule A. Since the filing of the motion, the Panel
has been notified of nine additional related federal actions.’ :

All responding parties support, or do not oppose, centralization, but request different
transferee districts. Nine defendants’ support centralization in the Eastern District of Pennsylvania
or, alternatively, the Western District of Pennsylvania, and one — the Lanxess Corporation — takes
no position. Plaintiffs variously propose the Northern District of Alabama, the Eastern District of
Michigan, the District of New Jersey, the Southern District of New York, the Eastern and Western
Districts of Pennsylvania, and the District of Kansas, as their first or second choice,

On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization will serve the convenience of the parties
and witnesses and promote the just and efficient conduct of this litigation. All actions share complex
factual questions arising from allegations that defendants engaged in a conspiracy to fix, raise,

* Certain Panel members have interests that normally would disqualify them under 28 U.S.C.
§ 455 from participating in the decision of this matter. Accordingly, the Panel invoked the Rule of
Necessity, and all present Panel members participated in the decision of this matter in order to
provide the forum created by the governing statute, 28 U.S.C. § 1407. See Inre Adelphia Commc'ns
Corp. Sec. & Derivative Litig. (No. Il), 273 F. Supp. 2d 1353 (J.P.M.L. 2003); In re Wireless Tel.
Radio Frequency Emissions Prods. Liab. Litig., 170 F. Supp. 2d 1356, 1357-58 (J.P.M.L. 2001).
Judge Charles A. Breyer took no part in the decision of this matter.

' The related actions are pending in the Northern District of Alabama, the Eastern District
of Michigan, the District of New Jersey, the Eastern District of Pennsylvania, and the Southern
District of New York. These and any other related actions are potential tag-along actions. See Panel
Rules 1.1(h), 7.1 and 7.2.

* Bayer Corporation; Covestro LLC; BASF Corporation; The Dow Chemical Company;
Huntsman International LLC and Huntsman Corporation; Wanhua Chemical (America) Co., Ltd.;
Mitsui Chemicals America, Inc.; and MCNS Polyurethanes USA Inc.
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maintain, or stabilize the price of methylene diphenyl diisocyanate (MDP and toluene diisocyanate
(TDI? sold in the United States, from early 2015 or 2016 through the present, including through
agreements to limit supply of MDI and TDI through planned manufacturing shutdowns at plants
worldwide and implementing coordinated price increases. The record indicates that discovery is
likely to be international in scope and will include a significant number of nonparties. Centralization
will eliminate duplicative discovery; prevent inconsistent pretrial rulings, especially with respect to
class certification and Daubert motions; and conserve the resources of the parties, their counsel and
the judiciary.

We conclude that the Western District of Pennsylvania is an appropriate transferee forum.
One defendant has its U.S. headquarters in this district, and five other defendants have their
headquarters in adjacent or nearby districts.. Relevant documents and witnesses therefore are likely
to be located in or close to this area. Nearly all responding defendants agree that the Western District
of Pennsylvania is an appropriate venue, along with plaintiffs in one action on the motion and one
potential tag-along action. Judge Donetta W. Ambrose is an experienced transferee judge with the
ability and willingness to manage this litigation efficiently. We are confident she will steer this
matter on a prudent course.

IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Western District of Pennsylvania are transferred to the Western District of Pennsylvania and,
with the consent of that court, assigned to the Honorable Donetta W. Ambrose for coordinated or
consolidated pretrial proceedings.

PANEL ON MULTIDISTRICT LITIGATION

Lara Verte.

Sarah S. Vance

Chair
Marjorie O. Rendell Lewis A. Kaplan
Ellen Segal Huvelle R. David Proctor

Catherine D. Perry

3 MDI and TDI allegedly are used to make a broad range of polyurethane consumer and
industrial products including, for example, flexible polyurethane foams in mattresses and upholstered
furniture; rigid polyurethane foams in insulation materials; thermoplastic polyurethanes used in
clothing, electronic devices, and sports equipment; and polyurethane coatings, adhesives, sealants,
and elastomers in paints and glues.
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IN RE: DITSOCYANATES ANTITRUST
LITIGATION MDL No. 2862

SCHEDULE A

Eastern District of Michigan

ISAAC INDUSTRIES, INC. V. BASF CORPORATION, ET AL., C.A. No. 1:18-12089

District of New Jersey

C.ULE., INC. v. BASF AG, ET AL., C.A. No. 2:18-11439

Western District of Pennsylvania

UTAH FOAM PRODUCTS, INC v. BAYER A.G. , ET AL., 2:18-00858
